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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA

   UNITED STATES OF AMERICA                                Case No. 1:08-cr-45-JMS-MJD-01

                                                           ORDER       ON     MOTION FOR
   v.                                                      SENTENCE REDUCTION UNDER
                                                           18 U.S.C. § 3582(c)(1)(A)
   BILLY L. HICKS, JR.                                     (COMPASSIONATE RELEASE)


         Upon motion of ☒ the defendant ☐ the Director of the Bureau of Prisons for a reduction

  in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors provided

  in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing Commission,

  IT IS ORDERED that the motion is:

  ☒ DENIED.

  ☐ DENIED WITHOUT PREJUDICE.

  ☐ OTHER:

  ☒ FACTORS CONSIDERED: See attached opinion.




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                            )
                                                       )
                                Plaintiff,             )
                                                       )
                           v.                          )       No. 1:08-cr-00045-JMS-MJD
                                                       )
  BILLY L. HICKS, JR.,                                 ) -01
                                                       )
                                Defendant.             )



             ORDER DENYING MOTION FOR COMPASSIONATE RELEASE

         On June 16, 2020, defendant Billy L. Hicks, Jr., an inmate at FCI Milan, filed a pro se

  motion for compassionate release under 18 U.S.C. § 3582(c)(1)(A). Dkt. 205. He filed an amended

  pro se motion on July 8, 2020. Dkt. 213. The Court appointed counsel to represent Mr. Hicks, and

  counsel filed a supporting memorandum on September 4, 2020. Dkt. 217. Mr. Hicks requests that

  the Court order his immediate release because he has medical conditions (including obesity,

  hypertension, and newly diagnosed type 2 diabetes and hyperlipidemia) that place him at an

  increased risk of experiencing severe symptoms if he contracts COVID-19, thereby constituting

  an extraordinary and compelling reason for a sentence reduction under § 3582(c)(1)(A)(i). Id. In

  response, the United States argues that Mr. Hicks would pose a danger to the community if released

  and that the sentencing factors in 18 U.S.C. § 3553(a) do not favor release. Dkt. 220. Mr. Hicks

  has supplemented the record four times with additional medical records, a release plan, and letters

  of support. Dkts. 221-2, 225-2, 227-2, 230-2.

         For the reasons explained below, the motion for compassionate release is DENIED.




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                                              I.
                                         BACKGROUND

         A. Mr. Hicks' Conviction and Sentence

         Mr. Hicks was indicted on March 19, 2008, for distribution of 50 grams or more of a

  mixture or substance containing cocaine base in violation of 21 U.S.C. §841(a)(1). Dkt. 1. A

  week later, an Information was filed pursuant to 21 U.S.C. §851(a)(1) due to his previous felony

  drug convictions. Dkt. 7. A jury found Mr. Hicks guilty in July 2009 and he was sentenced to

  life imprisonment. Dkts. 88, 94. On appeal, the conviction was vacated, dkt. 128, a new trial was

  scheduled, and on March 1, 2012, Mr. Hicks filed a plea of guilty pursuant to FRCP 11(c)(1)(C),

  dkt. 160. Pursuant to the agreement, the government moved to withdraw the § 851 Information

  as to two of his three felony drug convictions. Dkt. 160. On July 23, 2012, Mr. Hicks moved to

  withdraw his guilty plea. Dkt. 172. After a revised plea agreement was signed pursuant to FRCP

  11(c)(1)(C), Mr. Hicks withdrew his motion to withdraw guilty plea. Dkts. 176, 178.

         Mr. Hicks had an advisory guidelines range of 292-365 months, dkt. 165 (PSR ¶ 73);

  however, the acceptance of the binding plea agreement required a sentence of 300 months. Id.

  ¶ 6. With 15 criminal history points, he was placed in criminal history category VI. Id. ¶ 37.

  As a career offender, his offense level was found to be 37, id. ¶ 20, which included an 11-level

  enhancement for career offender status and acceptance of responsibility. Id. ¶ 22.

         On October 2, 2012, the Court sentenced Mr. Hicks to a term of 300 months imprisonment

  to be followed by five years of supervised release. Dkt. 182.

         Mr. Hicks has been in custody since 2008. Dkt. 165 at 1. The BOP reports that Mr. Hicks'

  earliest possible release date (with good time credit) is September 15, 2029.

         Mr. Hicks is 48 years old. He is currently incarcerated at FCI Milan in Milan, Michigan.

  As of December 9, 2020, the Bureau of Prisons ("BOP") reports that 26 inmates and 8 staff

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  members at FCI Milan have active cases of COVID-19. It also reports that 85 inmates and 55 staff

  members at FCI Milan have recovered from COVID-19 and three inmates have died of COVID-

  19. https://www.bop.gov/coronavirus/ (last visited Dec. 9, 2020).

         B. Mr. Hicks' Criminal History

         Mr. Hicks has four previous felony convictions: (1) dealing in cocaine in 1993 (committed

  when he was 20 years old); (2) auto theft in 1996 (committed when he was 23 years old); (3)

  dealing in cocaine within 1000 feet of a public park in 1997 (committed when he was 24 years

  old), and (4) possession of cocaine in 2001 (committed when he was 29 years old). Dkt. 165, ¶¶ 29-

  33. At the time he was arrested for the instant offense, he was on probation. Id. ¶ 36. In fact, each

  time Mr. Hicks has been placed on probation, he violated by not reporting, committing a new

  offense (including dealing cocaine again and stealing a car and setting it on fire) and/or testing

  positive for a controlled substance. Id. ¶¶ 28-33. Because of his criminal history, Mr. Hicks was

  designated as a career offender. Id. ¶ 38.

         Mr. Hicks also has several previous misdemeanor convictions, including possession of

  cocaine (1992), operating a vehicle without proof of financial responsibility (1996), and driving

  while license suspended (2006). Id. ¶¶ 28, 31, 33

         At the time the PSR was filed, Mr. Hicks' Indiana Bureau of Motor Vehicles driving record

  indicated 28 suspensions, 21 convictions, and 42 current points, with the first suspension occurring

  on May 1996. Id. ¶ 34.

         C. Disciplinary History

         BOP records indicate that Mr. Hicks has been disciplined on eight occasions during his

  current incarceration. The incidents include fighting with another person, refusing to obey an




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  order, failing to follow safety regulations, refusing work, and being absent from assignment. Dkt.

  220-2. His last charge, however, was in September 2016. Id.

                                                 II.
                                          LEGAL STANDARD

           The general rule is that sentences imposed in federal criminal cases are final and may not

  be modified. 18 U.S.C. § 3582(c). Under one exception to this rule, a court may reduce a sentence

  upon finding there are "extraordinary and compelling reasons" that warrant a reduction. 18 U.S.C.

  § 3582(c)(1)(A)(i). Before the First Step Act, only the Director of the Bureau of Prisons ("BOP")

  could file a motion for a reduction based on "extraordinary and compelling reasons." Now, a

  defendant is also permitted to file such a motion after exhausting administrative remedies. See First

  Step Act of 2018, Pub. L.N. 115-391, 132 Stat. 5194, 5239 (2018). The amended version of the

  statute states:

          [T]he court, upon motion of the Director of the Bureau of Prisons, or upon motion
          of the defendant after the defendant has fully exhausted all administrative rights to
          appeal a failure of the Bureau of Prisons to bring a motion on the defendant's behalf
          or the lapse of 30 days from the receipt of such a request by the warden of the
          defendant's facility, whichever is earlier, may reduce the term of imprisonment (and
          may impose a term of probation or supervised release with or without conditions
          that does not exceed the unserved portion of the original term of imprisonment),
          after considering the factors set forth in section 3553(a) to the extent that they are
          applicable, if it finds that—

                    (i) extraordinary and compelling reasons warrant such a reduction;
                    or

                    (ii) the defendant is at least 70 years of age, has served at least 30
                    years in prison, pursuant to a sentence imposed under section
                    3559(c), for the offense or offenses for which the defendant is
                    currently imprisoned, and a determination has been made by the
                    Director of the Bureau of Prisons that the defendant is not a danger
                    to the safety of any other person or the community, as provided
                    under section 3142(g);

          and that such a reduction is consistent with applicable policy statements issued by
          the Sentencing Commission . . . .

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  18 U.S.C. § 3582(c)(1)(A)(i).

         Congress directed the Sentencing Commission to "describe what should be considered

  extraordinary and compelling reasons for sentence reduction, including the criteria to be applied

  and a list of specific examples." 28 U.S.C. § 994(t). It directed that "[r]ehabilitation of the

  defendant alone shall not be considered an extraordinary and compelling reason." Id. Before

  passage of the First Step Act, the Sentencing Commission promulgated a policy statement

  regarding compassionate release under § 3582(c). U.S.S.G. § 1B1.13.

         Section 1B1.13 sets forth the following considerations. First, whether "[e]xtraordinary and

  compelling reasons warrant the reduction" and whether the reduction is otherwise "consistent with

  this policy statement." U.S.S.G. § 1B1.13(1)(A), (3). Second, whether the defendant is "a danger

  to the safety of any other person or to the community, as provided in 18 U.S.C.

  § 3142(g)." U.S.S.G. § 1B1.13(2). Finally, consideration of the sentencing factors in 18 U.S.C.

  § 3553(a), "to the extent they are applicable." U.S.S.G. § 1B1.13.

         As to the first consideration, Subsections (A)-(C) of Application Note 1 to § 1B1.13

  identify three specific "reasons" that qualify as "extraordinary and compelling": (A) terminal

  illness diagnoses or serious conditions from which a defendant is unlikely to recover and which

  "substantially diminish[]" the defendant's capacity for self-care in prison; (B) aging-related health

  decline where a defendant is over 65 years old and has served at least ten years or 75% of his

  sentence, whichever is less; or (C) certain family circumstances (the death or incapacitation of the

  caregiver of the defendant's minor child or the incapacitation of the defendant's spouse or

  registered partner when the defendant would be the only available caregiver for the spouse or

  registered partner). U.S.S.G. § 1B1.13, Application Note 1(A)–(C). Subsection (D) adds a catchall

  provision for "extraordinary and compelling reason[s] other than, or in combination with, the

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  reasons described in subdivisions (A) through (C)," "[a]s determined by the Director of the Bureau

  of Prisons." Id., Application Note 1(D).

          The policy statement in § 1B1.13 addresses only motions from the Director of the BOP.

  Id. ("Upon the motion of Director of the Bureau of Prisons under 18 U.S.C. § 3582(c)(1)(A), the

  court may reduce a term of imprisonment . . . "). It has not been updated since the First Step Act

  amended § 3582(c)(1)(A) to address motions that are filed by prisoners. As a result, the Sentencing

  Commission has not yet issued a policy statement "applicable" to motions filed by prisoners.

  United States v. Gunn, __ F. 3d __, 2020 WL 6813995, at *2 (7th Cir. Nov. 20, 2020). And, in the

  absence of an applicable policy statement, the portion of § 3582(c)(1)(A) requiring that a reduction

  be "consistent with the applicable policy statements issued by the Sentencing Commission" does

  not curtail a district court judge's discretion. Id. Nonetheless, the Commission's analysis in

  § 1B1.13 can guide a court's discretion without being conclusive. Id. As to motions brought under

  the "catchall" provision in Subsection (D), district judges should give the Director of the BOP's

  analysis substantial weight (if he has provided such an analysis), even though those views are not

  controlling. Id.

          Accordingly, the Court evaluates motions brought under the "extraordinary and

  compelling" reasons prong of § 3582(c)(1)(A) with due regard for the guidance provided in

  § 1B1.13 by deciding: (1) whether a defendant has presented an extraordinary and compelling

  reason warranting a sentence reduction; (2) whether the defendant presents a danger to the safety

  of any other person or to the community, as provided in 18 U.S.C. § 3142(g); and (3) whether the

  applicable sentencing factors in § 3553(a) favor granting the motion.




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                                                   III.
                                               DISCUSSION

          At 6 foot 2 inches and 265 pounds, dkt. 217 at 2, Mr. Hicks is obese, having a body mass

  index ("BMI") of 34. https://www.nhlbi.nih.gov/health/educational/lose_wt/BMI/bmicalc.htm.

  On October 23, 2020, he was diagnosed with type 2 diabetes and hyperlipidemia. Dkt. 227-2. The

  Centers for Disease Control and Prevention has found that obesity with a BMI over 30 and type 2

  diabetes are conditions that put a person at increased risk for severe illness if he contracts COVID-

  19. 1 The United States does not challenge Mr. Hicks' argument that he has presented extraordinary

  and compelling reasons supporting his request for compassionate release. Indeed, the Court

  acknowledges that the number of active inmate cases at FCI Milan has increased from one to 26

  and from one to eight staff active cases since the United States filed its response in mid-September.

  See dkt. 220 at 8.

          The United States argues, however, that Mr. Hicks poses a danger to the community under

  18 U.S.C. § 3142(g) and that consideration of the sentencing factors in 18 U.S.C. § 3553(a) compel

  a conclusion that his motion for compassionate release must be denied.

          A. Danger to the Community

          Even though Mr. Hicks has presented extraordinary and compelling reasons warranting a

  sentence reduction, the Court must deny his motion because he presents a danger to the

  community. The Guidelines provide that compassionate release is appropriate only where the

  "defendant is not a danger to the safety of any other person or to the community, as provided in 18

  U.S.C. § 3142(g)." U.S.S.G. § 1B1.13(2). Section 3142(g) is the provision outlining the factors




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   CDC, People with Certain Medical Conditions, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
  precautions/people-with-medical-conditions.html (last visited Dec. 9, 2020).

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  the Court must consider in determining whether a defendant should be detained pending trial.

  Section 3142(g) provides:

         (g) Factors to be considered.—The judicial officer shall, in determining whether
         there are conditions of release that will reasonably assure the appearance of the
         person as required and the safety of any other person and the community, take into
         account the available information concerning--
                 (1) the nature and circumstances of the offense charged, including whether
                 the offense is a crime of violence, a violation of section 1591, a Federal
                 crime of terrorism, or involves a minor victim or a controlled substance,
                 firearm, explosive, or destructive device;
                 (2) the weight of the evidence against the person;
                 (3) the history and characteristics of the person, including--
                         (A) the person's character, physical and mental condition, family
                         ties, employment, financial resources, length of residence in the
                         community, community ties, past conduct, history relating to drug
                         or alcohol abuse, criminal history, and record concerning
                         appearance at court proceedings; and
                         (B) whether, at the time of the current offense or arrest, the person
                         was on probation, on parole, or on other release pending trial,
                         sentencing, appeal, or completion of sentence for an offense under
                         Federal, State, or local law; and
                 (4) the nature and seriousness of the danger to any person or the community
                 that would be posed by the person's release.

  18 U.S.C. § 3142(g).

         First, Mr. Hicks' offense and several of his prior convictions involve dealing a controlled

  substance. Section 3142(g)(1). The second factor in section 3142(g) involves the strength of the

  evidence in the case. Mr. Hicks ultimately pleaded guilty after his conviction by jury trial was

  vacated due to the improper admission of prior unrelated drug convictions. Dkt. 128 at 13. The

  remand was not based on a lack of evidence.

         The third and fourth factors involve the history and characteristics of the defendant and the

  nature and seriousness of the danger his release would pose to the community. As discussed above,

  as a career offender, Mr. Hicks' criminal history is significant, and his lack of respect for the law

  was demonstrated by him violating the law again every time he was on probation. The staggering


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   number of times his driver's license was suspended, 28, also reflects poorly on his ability to comply

   with the law. 2 The PSR lists several instances of Mr. Hicks failing to appear for court hearings.

   Dkt. 165 ¶¶ 29-30. Although Mr. Hicks contends that the fear of going back to prison during this

   pandemic would deter him from any future criminal activity, his history establishes that Mr. Hicks

   presents a serious risk of being a threat to the community and not being able to comply with any

   set of conditions that might be imposed on release.

           Mr. Hicks is fortunate to have been able to maintain family ties, including with his fiancé,

   adult children, siblings, and his father. Dkts. 224, 230-1. He completed his GED while in prison,

   and he has taken advantage of the educational opportunities at FCI Milan. Dkt. 217-3. He lists

   potential job prospects if he were to be released to Dayton, Ohio. Dkt. 225-2. Mr. Hicks is

   encouraged to continue with his education and job training opportunities while he is incarcerated.

           Mr. Hicks has had several disciplinary convictions, although the Court acknowledges that

   he has been able to refrain from write ups the past four years. Mr. Hicks should try to continue to

   demonstrate this good behavior.

           After a consideration of Mr. Hicks' personal characteristics, the Court is not convinced that

   he is no longer a danger to the community. There is still a need for Mr. Hicks to serve a sentence

   that protects the community from further crimes.

           B. Section 3553(a) Factors

           The Court further finds that the applicable § 3553(a) sentencing factors weigh against

   granting Mr. Hicks compassionate release.




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     Although the United States asserts that the BOP lists Mr. Hicks as a high risk of recidivism, dkt. 220 at
   14 citing to Ex C, there is no Exhibit C and the Court does not discern any indication of the recidivism
   risk in Mr. Hicks' Inmate Profile. Dkt. 220-1.
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          The factors are: (1) the nature and circumstances of the offense and the history and

   characteristics of the defendant; (2) the need for the sentence imposed (a) to reflect the seriousness

   of the offense, to promote respect for the law, and to provide just punishment for the offense; (b)

   to afford adequate deterrence to criminal conduct; (c) to protect the public from further crimes of

   the defendant; and (d) to provide the defendant with needed educational or vocational training,

   medical care, or other correctional treatment in the most effective manner; (3) the kinds of

   sentences available; (4) the kinds of sentence and the sentencing range established for the

   defendant's crimes; (5) any pertinent policy statement issued by the Sentencing Commission; (6)

   the need to avoid unwarranted sentence disparities among defendants with similar records who

   have been found guilty of similar conduct; and (7) the need to provide restitution to any victims of

   the offense. 18 U.S.C. § 3553(a).

          Mr. Hicks' full-term release date is March 20, 2033, and with good time credit his earliest

   possible release date is September 15, 2029. Dkt. 220-1 at 3. Mr. Hicks has served approximately

   12 and a half years of his 25-year sentence, or approximately 58% of his statutory sentence. Dkt.

   220-1. It may be that the mandatory minimum sentence for Mr. Hicks' crime would be shorter if

   he were sentenced today. See 21 U.S.C. § 841(b) (eff. Dec. 21, 2018). At the time he was

   sentenced, however, Mr. Hicks received a sentence well above the mandatory minimum, see 21

   U.S.C. § 841(b) (eff. Aug. 3, 2010 to Dec. 20, 2018); dkt. 165 at 14. Thus, the possible change to

   the mandatory minimum does not weigh strongly in favor of releasing Mr. Hicks. As noted, Mr.

   Hicks has a significant and serious criminal history and has not demonstrated the ability to abide

   by the law at any time he has been released from incarceration. Early release at this time would

   not reflect the seriousness of the offense, promote respect for the law, or provide just punishment.




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   In addition, the Court finds that reducing his sentence to time served would not serve the purpose

   of protecting the public from future criminal conduct.

          In sum, given its consideration of the applicable § 3553(a) factors, the Court concludes that

   the risk to Mr. Hicks from the COVID-19 pandemic is not enough to tip the scale in favor of

   release. See United States v. Ebbers, No. S402-CR-11443VEC, 2020 WL 91399, at *7 (S.D.N.Y.

   Jan. 8, 2020) (in evaluating a motion for compassionate release, the court should consider whether

   the § 3553(a) factors outweigh the "extraordinary and compelling reasons" warranting

   compassionate release, and whether compassionate release would undermine the goals of the

   original sentence).

                                               IV.
                                           CONCLUSION

           For the reasons set forth above, Mr. Hicks' motions and amended motion for

   compassionate release, dkt. [205], dkt. [213], and dkt. [217], are DENIED.


   IT IS SO ORDERED.




          Date: 12/10/2020




   Distribution:

   All electronically registered counsel




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